Case 1:07-cv-02433-CBA-RER Document 94-14 Filed 04/28/11 Page 1 of 3 PagelD #: 771

EXHIBIT “K”
 

Ross University

Date Printed:

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SCHOOL OF MEDICINE

PORTSMOUTIL, DOMINICA
WEST INDIES

   

 

 

Name +: Dasrath, Anand

Student (D 1 @00088730

Matriculation Date : 05/10/2004

Date OF Birth : 114 2157
Major: Medicine

 

 

 

 

Course Course Title ' Grade Credit
Basic Science
Summer 2004
8/10/04 8/20/04
MANT 1110 DeviMicroscopic AnavCell Biol Cc 4.00
MBIO 1935 Medical Genetics F 0.00
MBEH 1130 Doctor, Patient & Society Be 3.00
MBIO 1125 Biochemistry C+ =65.00
Earned GPA OP Cecdils
Credits «QP GPA
SEMESTER: 12 31.00 12 2.06
CUMULATIVE: 12 37.60 12 2.06
Fatl 2004
916104 42/17704
MANT 1110 Dev/Microscopic AnatCell Biol B 4.00
MBIO 1135 Medical Genetics ¢ 3.00
MBEH 2130 Doctor, Patient & Society A 3.00
Barmed GPA OP Credits
Credits QP GPA
SEMESTER: 18 30.00 19 3.00
CUMULATIVE: 22 61,06 22 2.44
Spring 2005
410105 4122105
MPHY . 1210 Neurobchavioral C+ 4.00
MANT 1220 Gross Anatomy Cc 5.00
MPHY 1230 Medical Physiology Cc 6.00
Earned GPA QP Credits
Credits ar GPA
SEMESTER: 15 32.00 5 2.43
CUMULATIVE: 37 53.00 3? 2.32
Summer 2005
§f8i05 8/19/05

Course Course Title

Grade Credit
MMIC 2311) Microbiology & Immunology | Cc 3.00

 

 

MPAT 2321 Pathology 1 c 4.00
MPHM 2341 Pharmacology! 8+ 3.00
MISE 2330 Aehuvioral Science B 5.00
Earned OPA OP Credins
Credits QP GPA
SEMESTER: 15 39 50 5 2.63
CUMULATIVE: 52 132.50 52 2.40
Fali 2005
9/5105 12446105
MPHM 2441) Pharmacolopy 11 B 3.00
MPAT 2421) Patholorny H Sysicmie/Clinicat Cc 4.00
MMIC 2410 Micsabiotogy & Inunnaglopy 1 c 3.00
MC)LM 2430 Intro. to Clinical Mediciac Cc 5.90
Earned GPA QP Credits
Credits QP GPA
SEMESTER: 15 33,00 15 2.20
CUMULATIVE: 67 165.50 67 2.36
Clinical Science
Spring 2006
CAIC 3008 Advanced Intro, To Clin. Med. F 9.60
Harned GPA QP Credits
Credits orp GPA
SEMESTER: 0 0.00 G 0
CUMULATIVE: 67 165.50 67 2.03

This docuraent is an unofficial copy of the student's academic (zanscript. Official transcripts are printed on blue security paper with the

University seal and requite the Registrac’s signature.

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SCHOOL OF MEDICINE
PORTSMOUTH, DOMINICA

 

   

 

 

 

 

 

 

 

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i ep go OPN
WEST INDIES P OE
Name ; Dasrath, Anand Date OF Birth : 14/42/S7
Studem ID > @00088730 Matriculation Date : 05/10/2004 Major : Medicine
Course Gourse Tille Grade —- Credit Course Course Title Grade Credit
Fotal Credits 67

No Entries Below This Line

 

Comments: Administrative Wilhdrawal 4/7/06

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